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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  DANIEL MONCADA,

         Plaintiff,

  vs.


  VOLKSWAGEN GROUP OF AMERICA,
  INC., a foreign for-profit corporation,

         Defendant.
   _____________________________________/

                                            COMPLAINT

         Plaintiff DANIEL MONCADA, through undersigned counsel, sues Defendant,

  VOLKSWAGEN GROUP OF AMERICA, INC., a foreign for-profit corporation, and alleges as

  follows:

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This is also an action for declaratory and injunctive relief to prevent discrimination which

  includes equal access to internet Mobile Website for services to order and secure information about

  Defendant’s dealers online. This is also an action for declaratory and injunctive relief to prevent

  the continuing act of trespass against the Plaintiff’s personal property (his handheld mobile

  smartphone device, hereinafter referred to as “Mobile device”), and for compensatory damages to

  Plaintiff for such trespass. Remedies provided under common law for trespass are not exclusive

  and may be sought in connection with suits brought under the ADA.
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         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§ 2201 and 2202. In addition, this Court has supplementary jurisdiction

  over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff DANIEL MONCADA is a resident of Broward County, Florida, is sui

  juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been visually disabled and suffers from

  bilateral retinopathy and retinal detachment, a permanent eye disease and medical condition that

  substantially and significantly impairs his vision. Plaintiff thus is substantially limited in

  performing one or more major life activities, including, but not limited to, accurately visualizing

  his world and adequately traversing obstacles. As such, he is a member of a protected class under

  the ADA, 42 U.S.C. § 12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR

  §§ 36.101, et seq., and in 42 U.S.C. §3602(h).

         6.      Because he is visually disabled, Plaintiff cannot use his mobile device without the

  assistance of appropriate and available screen reader software.

         7.      Defendant is a foreign for-profit corporation authorized to do business in the State

  of Florida. Defendant owns and operates a large chain of cars and accessories dealers in the United

  States, including locations within the State of Florida.




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         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids and services for effective

  communication, including communication in connection with his use of a mobile device.

         9.      Plaintiff frequently accesses the internet.      Because he is significantly and

  permanently visually disabled, in order to effectively communicate and comprehend information

  available on the internet and hereby access/comprehend mobile websites, Plaintiff uses

  commercially available screen reader software to interface with the various mobile websites.

         10.     At all times material hereto, Defendant was and still is an organization; which owns

  and operates a chain of small cars and accessories dealers selling merchandise under the brand

  name “Volkswagen”. Each Volkswagen dealer is open to the public. As the owner and operator

  of these dealers, Defendant is defined as a place of “public accommodation" within meaning of

  Title III because Defendant is a private entity which owns and/or operates “[A] bakery, grocery

  store, clothing store, hardware store, shopping center, or other sales or rental establishment,” per

  42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a dealer open to the public, each of Defendant’s physical

  dealers is a place of public accommodation subject to the requirements of Title III of the ADA and

  its implementing regulation; 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant controls, maintains, and/or operates an adjunct website and mobile

  website called www.vw.com (hereinafter the “Mobile Website”) that is configured for use by

  mobile devices such as smartphones to access Defendant’s internet Mobile Website. One of the

  functions of the Mobile Website is to provide the public information on the various physical

  locations of Defendant’s dealers throughout the United States and within the State of Florida.

  Defendant also sells to the public its merchandise through the Mobile Website.



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         13.     The Mobile Website also services Defendant’s dealers by providing information on

  its available products and branded merchandise, tips and advice, editorials, sales campaigns,

  events, and other information that Defendant is interested in communicating to its customers.

         14.     Since the Mobile Website allows the public the ability to locate Defendant’s

  physical dealerships, purchase merchandise offered for sale by Defendant from its physical

  dealerships, locate inventory at the dealerships, schedule service appointments at the dealerships,

  and sign up for an electronic emailer to receive offers, benefits, exclusive invitations, and discounts

  for use at the physical dealerships, the Mobile Website is an extension of, and gateway to,

  Defendant’s physical dealers. By this nexus, the Mobile Website is characterized as an intangible

  service, privilege and advantage provided by a place of public accommodation as Defined under

  the ADA, and thus an extension of the services, privileges and advantages made available to the

  general public by Defendant through its brick and mortar locations and businesses.

         15.     Because the public can view and purchase Defendant’s merchandise that is also

  offered for sale by Defendant at its physical dealers, schedule service appointments at the dealers,

  and sign up for an electronic emailer to receive offers, benefits, exclusive invitations, and discounts

  for use at the physical dealers, the Mobile Website is an extension of, and gateway to, the physical

  dealers, which are places of public accommodation pursuant to the ADA, 42 U.S.C. § 12181(7)(E).

  As such, the Mobile Website is an intangible service, privilege and advantage of Defendant’s brick

  and mortar dealer locations that must comply with all requirements of the ADA, must not

  discriminate against individuals with visual disabilities, and must not deny those individuals the

  same full and equal enjoyment of the services, privileges and advantages afforded to the non-

  disabled general public both online and at the physical dealers locations.




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         16.     At all times material hereto, Defendant was and still is an organization owning and

  operating the Mobile Website. Since the Mobile Website is open to the public, the Mobile Website

  is an intangible service, privilege and advantage of Defendant’s brick and mortar dealers that must

  comply with all requirements of the ADA, must not discriminate against individuals with visual

  disabilities, and must not deny those individuals the full and equal enjoyment of the services,

  privileges and advantages afforded to the non-disabled public both online and at the physical

  dealers. As such, Defendant has subjected itself and the associated Mobile Website to the

  requirements of the ADA.

         17.     Plaintiff is and/or has been a customer who is interested in patronizing and intends

  to patronize, Defendant’s physical dealers and sign up for an electronic emailer to receive offers,

  benefits, exclusive invitations, and discounts for use at the Defendant’s Mobile Website or at the

  physical dealers.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise and sign up from

  his home for an electronic emailer to receive offers, benefits, exclusive invitations, and discounts

  for use at the physical dealers are important accommodations for Plaintiff because traveling outside

  of his home as a visually disabled individual is often difficult, hazardous, frightening, frustrating

  and confusing experience. Defendant has not provided its business information in any other digital

  format that is accessible for use by blind and visually impaired individuals using the screen reader

  software.

         19.     Like many consumers, Plaintiff accesses numerous mobile websites at a time to

  compare merchandise, prices, sales, discounts, and promotions. Plaintiff may look at several

  dozens of sites to compare features, discounts, promotions, and prices.




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         20.        During the month of March 2019, Plaintiff attempted on several occasions to utilize

  the Mobile Website to browse through the merchandise and on-line offers to educate himself as to

  the merchandise, sales, discounts, and promotions being offered, and with the intent to making a

  purchase through the Mobile Website or at one of the Defendant’s dealers.

         21.        Plaintiff utilizes Voiceover screen reader software that allows individuals who are

  visually disabled to communicate with mobile websites. However, Defendant’s Mobile Website

  contains access barriers that prevent free and full use by visually disabled individuals using

  keyboards and available screen reader software. These barriers are pervasive and include, but are

  not limited to:

                    a. Mislabeled links;

                    b. Mislabeled images;

                    c. Mislabeled social media;

                    d. Mislabeled search button; and

                    e. Mislabeled home button.

         22.        The Mobile Website also lacks prompting information and accommodations

  necessary to allow visually disabled individuals who use screen reader software to locate and

  accurately fill out online forms to purchase Defendant’s merchandise from the Mobile Website.

         23.        Plaintiff attempted to locate an “Accessibility Notice” on the Mobile Website,

  which would direct him to a webpage with contact information for disabled individuals who have

  questions, concerns, or who are having difficulties communicating with the Mobile Website.

  However, Plaintiff was unable to do so because no such link or notice was provided on the Mobile

  Website.




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         24.     The fact that Plaintiff could not communicate with or within the Mobile Website

  left him feeling excluded, as he is unable to participate in the same online mobile shopping

  experience, with access to the merchandise, sales, discounts, and promotions as provided at the

  Mobile Website and for use in the physical dealers, as the non-visually disabled public.

         25.     Plaintiff continues to desire and intent to patronize Defendant’s physical dealers

  and use its Mobile Website but is unable to fully do so as he is unable to effectively communicate

  with Defendant due to his severe visual disability and Defendant’s Mobile Website’s access

  barriers. Thus, Plaintiff, as well as others who are blind or with visual disabilities, will suffer

  continuous and ongoing harm from Defendant’s intentional acts, omissions, policies, and practices

  as set forth herein unless properly enjoined by this Court.

         26.     Because of the nexus between Defendant’s dealers and the Mobile Website, and the

  fact that the Mobile Website clearly provides support and is connected to Defendant’s dealers for

  its operation and use, the Mobile Website is an intangible service, privilege and advantage of

  Defendant’s brick and mortar dealer that must comply with all requirements of the ADA, must not

  discriminate against individuals with disabilities, and must not deny those individuals the same

  full and equal enjoyment of the services, privileges and advantages afforded to the non-disabled

  public both on-line and at its physical locations, which are places of public accommodations

  subject to the requirements of the ADA.

         27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to insure full and equal use of the Mobile Website by individuals with disabilities.

         28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to insure full and equal use of Mobile Website by individuals with disabilities.




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          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to insure full and equal use of the Mobile Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to insure full and equal use of the Mobile Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to insure full and equal use of the Mobile Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     On information and belief, Defendant has not created and instituted a Specialized

  Customer Assistance line or service or email contact mode for customer assistance for the visually

  disabled.

          35.     On information and belief, Defendant has not created and instituted on the Mobile

  Website a page for individuals with disabilities, nor displayed a link and information hotline, nor

  created an information portal explaining when and how Defendant will have the Mobile Website,

  applications, and digital assets accessible to the visually disabled or blind community.

          36.     On information and belief, the Mobile Website does not meet the Web Content

  Accessibility Guidelines 2.0 (“WCAG 2.0”) Level AA or higher of web accessibility.

          37.     On information and belief, Defendant has not disclosed to the public any intended

  audits, changes, or lawsuits to correct the inaccessibility of the Mobile Website to visually disabled




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  individuals who want the safety and privacy of purchasing Defendant’s merchandise offered on

  the Mobile Website online from their homes.

         38.     Thus, Defendant has not provided full and equal enjoyment of the services,

  facilities, privileges, advantages, and accommodations provided by and through the Mobile

  Website, in contravention of the ADA.

         39.     Further, public accommodations under the ADA must insure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with disabilities such as Plaintiff.

         40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping Mobile Websites, such as the Mobile Website.

         41.     On information and belief, Defendant is, and at all times has been, aware of the

  barriers to effective communication within the Mobile Website which prevent individuals with

  disabilities who are visually disabled from the means to comprehend information presented

  therein.

         42.     On information and belief, Defendant is aware of the need to provide full access to

  all visitors to the Mobile Website.

         43.      The barriers that exist on the Mobile Website result in discriminatory and unequal

  treatment of individuals with disabilities who are visually disabled, including Plaintiff.

         44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.



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          45.       Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          46.       Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

   U.S.C. §§ 2201 and 2202.

          47.       Plaintiff has retained the undersigned attorneys to represent him in this case, and

   has agreed to pay them a reasonable fee for their services.

                                           Trespass Violations

          48.       Plaintiff utilizes his handheld mobile device to access websites such as the Mobile

   Website.

          49.       Plaintiff uses his mobile device as a method of conveyance of his personal

   information. Plaintiff thus dealers his personal information and retains his browsing history on his

   mobile device.

          50.       Throughout the Mobile Website, Defendant has placed forms of software to collect

   non-public information on the website’s user’s preferences and internet browsing habits.

          51.    Defendant informs the Mobile Website user that the user’s personal information and

   browsing history is collected and is used for targeted marketing and advertising.

          52.       Because of his blindness, Plaintiff was unable to comprehend the Mobile Website;

   therefore, Plaintiff has had no choice in, and likewise no knowledge of, Defendant’s installation

   of data and information tracking software and the collection of the website user’s browsing history

   and analytics placed on the user’s handheld device.

          53.       Based upon the review of the Mobile Website, when a user accesses the Mobile

   Website, Defendant installs software onto the user’s handheld device, without the user’s advance




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   consent or knowledge. It is also clear that Defendant has used browser cookies to identify websites

   that Plaintiff has previously visited by accessing Plaintiff’s web browser history.

          54.     As such, through its Mobile Website, Defendant has committed a trespass against

   the Plaintiff, since the Mobile Website places information gathering software on the Plaintiff’s

   handheld device without Plaintiff’s knowledge or consent.

                              COUNT I – VIOLATION OF THE ADA

          55.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          56.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA because it owns and/or operates the Mobile Website, as defined within §12181(7)(E) and

   is subject to the ADA.

          57.     Pursuant to 42 U.S.C. §12181(7)(E), the Mobile Website is covered under the ADA

   because it provides the general public with the ability to locate Defendant’s physical dealers,

   purchase merchandise offered for sale by Defendant from its physical dealers, locate inventory,

   build a vehicle, schedule service appointments, and sign up for an electronic emailer to receive

   offers, benefits, exclusive invitations, and discounts for use at the physical dealers, the Mobile

   Website thus is an intangible service, privilege and advantage Defendant’s physical dealers.

   Further, the Mobile Website also serves to augment Defendant’s physical dealers by providing the

   public information on the various physical locations of the dealers and educating the public as to

   Defendant’s available merchandise that is sold through the Mobile Website and in its physical

   dealers.

          58.     Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an




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   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          59.     Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          60.     In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful

   discrimination also includes, among other things, “a failure to take such steps as may be necessary

   to ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          61.     Defendant’s Mobile Website must be in compliance with the ADA, but it is not, as

   specifically alleged hereinabove and below.

          62.     Because of the inaccessibility of the Mobile Website, individuals with disabilities

   who are visually disabled are denied full and equal enjoyment of the information and services that

   Defendant has made available to the public on its Mobile Website, and at its physical dealers, in

   violation of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

          63.     A sample review of just part of the Website reveals that the Website is not

   functional for users who are visually disabled, including, but not limited to, the following:



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                  a. Mislabeled links;

                  b. Mislabeled images;

                  c. Mislabeled social media;

                  d. Mislabeled search button; and

                  e. Mislabeled home button.

   See, Expert Declaration and Curriculum Vitae of Robert D. Moody, attached as Composite Exhibit

   “A”.

          64.     More violations may be present on other pages of the Mobile Website, which can

   and will be determined and proven through the discovery process in this case.

          65.     Further, the Mobile Website does not offer or include the universal symbol for the

   disabled that would permit disabled individuals to access the Mobile Website’s accessibility

   information and accessibility facts.

          66.     There are readily available, well established guidelines on the internet for making

   Mobile Websites accessible to the blind and visually disabled. These guidelines have been

   followed by other large business entities in making their websites accessible. Examples of such

   guidelines include, but not limited to, adding alt-text to graphics and ensuring that all functions

   can be performed using a keyboard. Incorporating such basic components to make the Mobile

   Website accessible would neither fundamentally alter the nature of Defendant’s business nor

   would it result in an undue burden to the Defendant.

          67.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

   access to the Mobile Website by individuals, such as Plaintiff, with visual disabilities who requires

   the assistance of interface with screen reader software to comprehend and access internet websites.

   These violations within the Mobile Website are ongoing.



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          68.     The ADA and ADAAA require that public accommodations and places of public

   accommodation ensure that communication is effective.

          69.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          70.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          71.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          72.     As alleged hereinabove, the Mobile Website has not been designed to interface with

   the widely and readily available technologies that can be used to ensure effective communication,

   and thus violates the ADA.

          73.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Mobile Website, with a nexus to its brick and mortar physical dealers locations, Plaintiff

   has suffered an injury in fact by being denied full access to and enjoyment of Defendant’s Mobile

   Website and physical dealers.




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          74.     Because of the inadequate development and administration of the Mobile Website,

   Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to

   remedy the ongoing disability discrimination.

          75.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief; including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Mobile Website to a statement as to the

   Defendant’s policy to ensure persons with disabilities have full and equal enjoyment of the

   services, facilities, privileges, advantages, and accommodations through the Mobile Website.

          b) Require Defendant to take the necessary steps to make the Mobile Website readily

   accessible to and usable by visually disabled users, and during that time period prior to the Mobile

   Website’s being readily accessible, to provide an alternative method for individuals with visual

   disabilities to access the information available on the Mobile Website until such time that the

   requisite modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual impairments will be able to effectively communicate with the Mobile Website for purposes

   of viewing and locating Defendant’s physical dealers and locations, and becoming informed of

   and purchasing Defendant’s merchandise online, and during that time period prior to the Mobile

   Website’s being designed to permit individuals with visual disabilities to effectively communicate,

   to provide an alternative method for individuals with visual disabilities to effectively communicate

   for such goods and services made available to the general public through the Mobile Website.

          76.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel



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   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Mobile Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Mobile Website, and

               continue to monitor and update the Mobile Website on an ongoing basis, to remove

               barriers in order that individuals with visual disabilities can access, and continue to

               access, the Mobile Website and effectively communicate with the Mobile Website to

               the full extent required by Title III of the ADA;

          C. An Order requiring Defendant, by a date certain, to clearly display the universal

               disabled logo within the Mobile Website, wherein the logo 1 would lead to a page which

               would       state   Defendant’s   accessibility   information,   facts,   policies,   and

               accommodations. Such a clear display of the disabled logo is to insure that individuals

               who are disabled are aware of the availability of the accessible features of the Mobile

               Website;

          D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

               accessibility by implementing a website accessibility coordinator, a website application

               accessibility policy, and providing for website accessibility feedback to insure

               compliance thereto;




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         E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

            procedures toward persons with disabilities, for such reasonable time to allow

            Defendant to undertake and complete corrective procedures to its Mobile Website;

         F. An Order directing Defendant, by a date certain, to establish a policy of web

            accessibility and accessibility features for the Mobile Website to insure effective

            communication for individuals who are visually disabled;

         G. An Order requiring, by a date certain, that any third-party vendors who participate on

            Defendant’s Mobile Website to be fully accessible to the visually disabled;

         H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

            provide mandatory web accessibility training to all employees who write or develop

            programs or code for, or who publish final content to, the Mobile Website on how to

            conform all web content and services with ADA accessibility requirements and

            applicable accessibility guidelines;

         I. An Order directing Defendant, by a date certain and at least once every three months

            thereafter, to conduct automated accessibility tests of the Mobile Website to identify

            any instances where the Mobile Website is no longer in conformance with the

            accessibility requirements of the ADA and any applicable accessibility guidelines, and

            further directing Defendant to send a copy of the twelve (12) quarterly reports to

            Plaintiff’s counsel for review;

         J. An Order directing Defendant, by a date certain, to make publicly available and directly

            link from the Mobile Website homepage, a statement of Defendant’s Accessibility

            Policy to ensure the persons with disabilities have full and equal enjoyment of the




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                Mobile Website and shall accompany the public policy statement with an accessible

                means of submitting accessibility questions and problems;

          K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

          L. Such other and further relief as the Court deems just and equitable.

                                        COUNT II – TRESPASS

          77.      Plaintiff re-alleges paragraphs 1 through 54 as if set forth fully herein.

          78.      Plaintiff’s tangible personal property, being his mobile device and the personal

   information and browsing history stored therein, has suffered a trespass by Defendant on each and

   every date that the Plaintiff has accessed Defendant’s Mobile Website, due to Defendant’s

   employment of software analytics which are present on and through the Mobile Website, which

   the Plaintiff has navigated.

          79.      At all relevant times, Plaintiff did not consent to and was unaware that the Mobile

   Website was placing software on his mobile device due to his inability to effectively communicate

   with and fully view and access the Website.

          80.      Plaintiff did not consent to the placement of tracking and information securing

   software on his mobile device; therefore, Defendant has committed a trespass against Plaintiff by

   placing such software on his mobile device without his knowledge or consent.

          81.      By the acts described hereinabove, Defendant has repeatedly and persistently

   engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

   trespass.

          82.      Defendant’s installation, operation, and execution of software on Plaintiff’s mobile

   device have directly and proximately impaired the condition and value of the Plaintiff’s mobile

   device, thereby causing Plaintiff damages.



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          83.       At the Mobile Website location, Defendant has a “Privacy Policy” that discusses

   the automatic gathering of information from, including the automatic placement of cookies and

   other information gathering software on, computers and mobile devices of users of the Website

   such as Plaintiff. A copy of that “Privacy Policy” is attached hereto as Exhibit “B” and its contents

   are incorporated herein by reference.

          84.       Defendant’s trespass to chattels, nuisance, and interference has caused real and

   substantial damage to Plaintiff as follows:

          a) By consuming the resources of and/or degrading the performance of Plaintiff’s mobile

   device (including space, memory, processing cycles, and internet connectivity);

          b) By infringing on Plaintiff’s right to exclude others from his mobile device;

          c) By infringing on Plaintiff’s right to determine, as the owner of his mobile device, which

   programs should be installed and operated on his mobile device;

          d) By compromising the integrity, security, and ownership of Plaintiff’s mobile device;

   and

          e) By forcing Plaintiff to expend money, time, and resources in order to remove the

   programs that had been installed on his mobile device without notice or consent.

          85.       Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

   disregard for Plaintiff’s rights under the law.

          WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

   Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

   and equitable.

          DATED: July 16, 2019.




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